Case 1:22-cv-02417-DDD-NRN Document 1-2 Filed 09/19/22 USDC Colorado Page 1 of 8




                                                      DATE FILED: February 18, 2022 5:50 PM
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   DISTRICT COURT, DENVER COUNTY,             COLORADOCASE NUMBER: 2022CV30474
   1437 Bannock Street, Suite 230, Denver, Colorado 80202

                                                                     ▲ COURT USE ONLY ▲
   Plaintiffs: RYAN SCHEELER, an individual; AGR
   GROUP LLC, a Nebraska limited liability company. _________________________

   v.                                                              Case No:

   Defendants: CANOPY HOLDINGS, LLC, d/b/a                         Division:
   CANOPY HOLDINGS OF COLORADO, LLC, a Virginia
   limited liability company doing business in Colorado
   ________________________________________________
   Attorneys for Plaintiffs:
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                                           COMPLAINT


          PLAINTIFFS, Ryan Scheeler, by and through its counsel, Underhill Law, P.C., submits
   its Complaint as follows:

                                  STATEMENT OF THE CASE

      1.      Mr. Scheeler entered into an Asset Purchase Agreement and related documents with
   Canopy Holdings, LLC under which Canopy Holdings, LLC and its affiliates agreed to pay him
   and AGR Group, LLC certain amounts. These included an “Earnout” payment that was to come
   due around April 1, 2022, and vesting of additional shares that was to occur around February 18,
   2022. To avoid making these payments, Canopy Holdings made false claims of impropriety
   against Mr. Scheeler and AGR Group, LLC and tried to pressure him into giving up his rights.
   When this failed, they terminated him February 17, 2022, without stated cause. The real reason
   was to try and avoid making the agreed upon payments.




                                                  1
Case 1:22-cv-02417-DDD-NRN Document 1-2 Filed 09/19/22 USDC Colorado Page 2 of 8




                            PARTIES, VENUE, AND JURISDICTION

      2.     Plaintiff Ryan Scheeler is a resident of the state of Colorado with an address of 1300
   Carr Street, Lakewood, Colorado 80214.

      3.     Plaintiff AGR Group, LLC, is a Nebraska limited liability company.

       4.     Defendant Canopy Holdings, LLC is a Virginia Corporation with its principal place of
   business located at 1777 South Bellaire Street, Unit 206, Denver, Colorado 80222 and a
   registered agent of Matthew Hirschibiel located at 820 South Harrison Street, Denver, Colorado
   80209.

       5.     Venue is proper in this Court pursuant to C.R.C.P. 98(c)(1) because the Defendant
   either resides in this County or outside of the state of Colorado and because Defendant may be
   served in this County.

       6.    Upon information and belief, Defendant is not incompetent or in the military service
   of the United States. Defendant is a limited liability company.

                                     GENERAL ALLEGATIONS

      7.     Mr. Scheeler is the majority managing member of AGR Group, LLC.

      8.    Mr. Scheeler and AGR Group, LLC, the Defendants, and others entered into an Asset
   Purchase Agreement around January of 2021.

      9.    Generally, Canopy Holdings was purchasing assets from AGR Group, LLC, a
   Nebraska corporation owned by Mr. Scheeler.

      10.    Mr. Scheeler came to work for Canopy Holdings.

       11. The parties may have entered into other subsidiary documents related to this
   transaction, including a promissory note, a Restrictive Covenant and Invention Assignment
   Agreement, a Class A Restriction Agreement, and other documents.

      12. Among other obligations, these documents required Canopy Holdings or others to pay
   AGR Group, LLC, an “earnout” amount based on certain financials related to Canopy Holdings.
   This earnout payment was to be made around April 1, 2022.

                                                  2
Case 1:22-cv-02417-DDD-NRN Document 1-2 Filed 09/19/22 USDC Colorado Page 3 of 8




      13. Among other obligations, these documents also vested membership interests of
   Canopy Holdings in Mr. Scheeler over time. Another large chunk of Canopy Holdings interest
   was about to vest in Mr. Scheeler around February 18, 2022.

       14. Upon information and belief, the Board of Canopy Holdings desired to avoid making
   payments to Mr. Scheeler and his company. This is based on the fact that they made false
   allegations against Mr. Scheeler of impropriety related to the original sale and tried to leverage
   those to pressure Mr. Scheeler to enter into agreements deferring or eliminating his rights and
   benefits.

      15.    Mr. Scheeler has repeatedly requested information related to the payments needed.


       16. When Mr. Scheeler refused to cooperate, the board of Canopy Holdings conducted a
   meeting on February 17, 2022, at which they terminated Mr. Scheeler. They did not give a
   reason.

       17. This meeting was followed by a termination letter advising Mr. Scheeler that he was
   fired “at-will” and that, in Canopy Holding’s estimation, this allowed Canopy Holdings to refuse
   to give Mr. Scheeler his vesting membership interests.

       18. Upon information and belief, based on the conduct of the board to date and Mr.
   Scheeler’s communication with Canopy Holdings, Canopy Holdings also plans to falsely claim
   that the earnout amount owing to Mr. Scheeler or AGR Group, LLC is $0.00 and refuse to make
   due payment.

       19. Some of the affiliated documents related to the purchase and Mr. Scheeler’s
   employment discuss non-compete agreements or similar covenants which may be unenforceable
   or illegal under Colorado law and which define the geographic area in which Mr. Scheeler is
   barred from working as related to where Canopy Holdings operates.

      20. Some of the affiliated documents related to the purchase and Mr. Scheeler’s
   employment discuss a right by Canopy Holdings to purchase assets or shares related to other
   companies related to Mr. Scheeler, but these potential rights were never executed or paid for by
   Canopy Holdings.




                                                   3
Case 1:22-cv-02417-DDD-NRN Document 1-2 Filed 09/19/22 USDC Colorado Page 4 of 8




                                   FIRST CLAIM FOR RELIEF
                   Declaratory Judgment – By Mr. Scheeler and AGR Group, LLC

      21.    Plaintiffs incorporate all other averments of this Complaint as if set forth here.

      22.    Plaintiffs are interested under a series of contracts and agreements.

       23. These contracts or agreements discuss payments, membership interest vesting, and
   other amounts and obligations owed to Mr. Scheeler, potential non-competes, rights to purchase
   items related to other companies.

       24. These contracts or agreements may also include restrictions on Mr. Scheeler’s
   termination without cause or consequences of the same.

       25. There is a currently justiciable issue and existing legal controversy as to the parties’
   rights and obligations.

       26. This Court can fully and finally resolve uncertainty as to all parties with a substantial
   interest.

      27.    A contract may be construed before or after there is breach thereof.

      28. This Court has authority to declare the rights and obligations of the parties. C.R.S. §
   13-51-101 and C.R.C.P. 57.

             WHEREFORE, Plaintiffs therefore request the relief specified in this Complaint.

                                SECOND CLAIM FOR RELIEF
                   Wrongful Termination (C.R.S. § 24-34-402.5) – By Mr. Scheeler

      29.    Plaintiffs incorporate all other averments of this Complaint as if set forth here.

       30. Canopy Holdings terminated Mr. Scheeler due to Mr. Scheeler engaging in a lawful
   activity off the premises of the employer during nonworking hours.

       31. Mr. Scheeler’s conduct did not relate to a bona fide occupational requirement and was
   not reasonably related to his employment activities or responsibilities.



                                                    4
Case 1:22-cv-02417-DDD-NRN Document 1-2 Filed 09/19/22 USDC Colorado Page 5 of 8




       32. Mr. Scheeler’s conduct did not create a conflict of interest with any of his
   responsibilities to Canopy Holdings.

       33. Canopy Holdings demanded that Mr. Scheeler give up his legal rights and when he did
   not, retaliated by terminating him.

      34. Canopy Holdings sought to shirk its obligations to make lawful, legally binding
   payments owed to Mr. Scheeler using the termination as an excuse and as a method of pressure.

             WHEREFORE, Plaintiffs therefore request the relief specified in this Complaint.

                                  THIRD CLAIM FOR RELIEF
                       Wrongful Termination (Public Policy) – By Mr. Scheeler

      35.    Plaintiffs incorporate all other averments of this Complaint as if set forth here.

      36. Canopy Holdings owed a legal obligation to Mr. Scheeler to make certain payments
   and convey certain benefits.

      37.    Canopy Holdings desired to avoid satisfying its obligations.

      38.    Canopy Holdings demanded that Mr. Scheeler give up his legal rights.

      39. Canopy Holding’s demands were wrongful and constituted breach of contract and
   duress seeking to force Mr. Scheeler into an unlawful act, namely, giving up his lawful rights
   under the contracts.

      40. Mr. Scheeler brought these wrongful demands to the attention of the board of Canopy
   Holdings.

       41. When Mr. Scheeler refused to engage in the activity demanded, Canopy Holdings
   terminated him without cause and without giving him any reason when requested.

       42. It is against public policy to allow employers to retaliate against employees who refuse
   to relinquish their already earned benefits, rights, and payments in exchange for continued
   employment.

      43. Canopy Holding’s actions were against public policy and tend to interfere with the
   proper administration of public affairs and justice.
                                                    5
Case 1:22-cv-02417-DDD-NRN Document 1-2 Filed 09/19/22 USDC Colorado Page 6 of 8




             WHEREFORE, Plaintiffs therefore request the relief specified in this Complaint.

                                  FOURTH CLAIM FOR RELIEF
                         Accounting – By Mr. Scheeler and AGR Group, LLC

      44.    Plaintiffs incorporate all other averments of this Complaint as if set forth here.

       45. The amounts owing to Mr. Scheeler or AGR Group, LLC from Canopy Holdings
   under the earnout, the stock vesting, and otherwise, may be based on calculations related to the
   financial condition of Canopy Holdings.

       46. Upon information and belief, Canopy Holdings plans to manipulate these calculations
   to minimize or eliminate the amounts paid or to be paid. For example, Canopy Holdings has
   previously used switching from a cash based accounting to an accrual based accounting to try
   and paint a misleading picture of the financials of companies related to the parties’ transactions.

      47.    Mr. Scheeler is a member of Canopy Holdings.

      48. The board of Canopy Holdings and Canopy Holdings have a duty to account to Mr.
   Scheeler and hold as trustee for Mr. Scheeler any property, profit, or benefit derived from the
   conduct of the business. See C.R.S. § 7-80-404.

             WHEREFORE, Plaintiffs therefore request the relief specified in this Complaint.

                                   FIFTH CLAIM FOR RELIEF
                     Breach of Contract – By Mr. Scheeler and AGR Group, LLC

      49.    Plaintiffs incorporate all other averments of this Complaint as if set forth here.

      50.    The parties entered into a contract.

      51.    Plaintiff substantially performed.

      52. Defendant did not perform, materially breached, has repudiated the contract,
   announced an intention to breach, or has committed anticipatory breach.

      53.    The contract contained a duty of good faith and fair dealing.



                                                    6
Case 1:22-cv-02417-DDD-NRN Document 1-2 Filed 09/19/22 USDC Colorado Page 7 of 8




       54. Defendant’s actions did not match the parties’ reasonable expectations and otherwise
   violated the duty of good faith and fair dealing.

      55.      As a result of these breaches, Plaintiff has been damaged.

               WHEREFORE, Plaintiffs therefore request the relief specified in this Complaint.

                                           PRAYER FOR RELIEF

            Plaintiffs seek the following relief:

           DECLARATORY JUDGMENT concerning the amounts owed to Mr. Scheeler and to
   AGR Group, LLC by Canopy Holdings; invalidating any non-compete or related agreement
   binding Plaintiffs; that Plaintiffs have no further obligations to Canopy Holdings; and that no
   part of AGR, Inc., including its e-mail servers, electronic information, customer lists, and other
   information is owned by Canopy Holdings;

          DAMAGES to be established at trial but to include front pay, back pay, consequential
   damages, unpaid wages, attorney fees, other amounts under C.R.S. § 24-34-402.5 and other
   portions of the Colorado Anti-Discrimination Act,

         An ORDER that the parties shall engage a forensic accountant at the expense of Canopy
   Holdings, LLC, to produce an accurate accounting of all aspects of the business related to the
   agreements between the parties and amounts owing to Mr. Scheeler.

                                           RIGHT TO AMEND

           Plaintiffs respectfully reserves the right to amend this Complaint, the claims and damages
   stated pursuant to C.R.C.P. 15, as additional or supplemental facts and information become
   known pursuant to C.R.C.P. 26(a)(1) or for any other reason. This includes, without limitation,
   the right to bring claims for breach of fiduciary duty, violation of employment law and the law
   related to benefits and compensation, and claims for dissolution or a forced buy out of Canopy
   Holdings, LLC, among others.




                                                     7
Case 1:22-cv-02417-DDD-NRN Document 1-2 Filed 09/19/22 USDC Colorado Page 8 of 8




   DATED: February 18, 2022:
                                           UNDERHILL LAW, P.C.

                                           _/s/Colin Moriarty________
                                           Joanne P. Underhill, #16690
                                           Colin E. Moriarty, #36865
                                           COUNSEL FOR PLAINTIFF



   Plaintiff’s Address:
   1300 Carr Street
   Lakewood, Colorado 80214




                                       8
